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                         NATIONWIDE PROPERTY &
                    17   APPRAISAL SERVICES LLC,
                         A New Jersey limited liability company
                    18
                                            UNITED STATES DISTRICT COURT
                    19
                                           CENTRAL DISTRICT OF CALIFORNIA
                    20
                         NATIONWIDE PROPERTY &                    Case No. 8:20-cv-02126-JVS (JDEx)
                    21   APPRAISAL SERVICES LLC, a New            Honorable James V. Selna
                    22   Jersey limited liability company,
                                                                  ORDER DISMISSING ENTIRE
                    23                         Plaintiff,         ACTION WITH PREJUDICE
                    24         v.                                 Complaint Filed: November 4, 2020
                                                                  Ryan Andrews’ Counter-Complaint
                    25   NICOLE ANDREWS, an individual,           Filed:            June 7, 2021
                         RYAN ANDREWS, an individual, and         Fastapp’s Counter-Complaint
                    26   FASTAPP INC., a New York                 Filed:            June 29, 2021
                         corporation,                             Trial:            September 13, 2022
                    27
                                               Defendants.
                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                   [PROPOSED] ORDER DISMISSING
 ATTORNEYS AT LAW                                                             ENTIRE ACTION WITH PREJUDICE
   LOS ANGELES
          Case 8:20-cv-02126-JVS-JDE Document 142 Filed 10/28/21 Page 2 of 2 Page ID #:1763



                     1         Based upon the Parties’ Stipulation to dismiss this action with prejudice in its
                     2   entirety in consideration of a negotiated settlement agreement executed by them,
                     3         IT IS HEREBY ORDERED THAT:
                     4         This action is dismissed with prejudice in its entirety; each party to bear
                     5   his/her/its own attorneys’ fees and costs.
                     6         IT IS SO ORDERED.
                     7

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                     9   Dated: October 28, 2021
                    10
                                                                Hon. James V. Selna
                                                                United States District Judge
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MORGAN, LEWIS &
                                                                                  [PROPOSED] ORDER DISMISSING
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                      2          ENTIRE ACTION WITH PREJUDICE
   LOS ANGELES
